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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 AMERICAN IMMIGRATION
 COUNCIL,
                         Plaintiff,                         Civil Action No. 16-1050-RJL
                  v.
 UNITED STATES DEPARTMENT
 OF HOMELAND SECURITY, et al.,
                         Defendants.


                                 JOINT STATUS REPORT

         Plaintiff, American Immigration Council (the “Council”), and Defendants, the United

States Department of Homeland Security and Customs and Border Protection (“CBP”), and each

by its undersigned counsel, hereby submit this joint proposed status report in compliance with the

Court’s Minute Order dated July 11, 2018.

         1.      As previously reported, all that remains for resolution in this litigation is the

Council’s demand for fees and costs.

         2.      Without conceding that the Council is entitled to any such relief, CBP expressed its

willingness to engage in negotiations on that issue with the Council. On June 6, 2018, the Council

presented Defendants with its demand for attorneys’ fees and costs, and CBP conveyed a

counteroffer on July 31, 2018.

         3.      At this point, the parties have not reached an agreement on the issue of fees and

costs.

         4.      Accordingly, consistent with the directive in the Court’s July 11 Minute Order, the

parties propose the following schedule for filing and briefing the Council’s motion for fees and

costs.




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                 a. The Council will file its motion and all supporting papers by no later than

                    September 14, 2018.

                 b. CBP will file its opposition papers by October 15, 2018.

                 c. The Council may file a reply brief on or before October 30, 2018.

         5.      In addition, the parties propose that they be ordered to seek to resolve the issues

raised in the motion in mediation, with a mutually acceptable third party neutral, during the thirty-

day period following completion of the briefing on the Council’s motion (i.e., from October 31

through November 30, 2018).

         6.      If all outstanding issues regarding fees and costs are not fully resolved by agreement

by November 30, 2018, the parties will so inform the Court in a joint status report to be filed on

December 3, 2018, with the understanding that the Court would move forward with adjudicating

the Council’s motion.



 Respectfully Submitted,
 DRINKER BIDDLE & REATH, LLP                           JESSIE K. LIU, D.C. Bar #472845
                                                       United States Attorney
 By: /s/ Thomas Starnes
 THOMAS E. STARNES, D.C. Bar # 376215                  DANIEL F. VAN HORN, D.C. Bar #924092
 Drinker Biddle & Reath, LLP                           Chief, Civil Division
 1500 K Street, N.W.
 Washington, District of Columbia 20005                By: /s/ Johnny Walker
 Telephone: 202 230 5192                               JOHNNY H. WALKER, D.C. Bar # 991325
 Facsimile: 202 842 4865                               Assistant United States Attorney
 Cell: 202 415 4558                                    555 4th Street, N.W.
 Thomas.Starnes@dbr.com                                Washington, District of Columbia 20530
                                                       Telephone: 202 252 2575
 Counsel for Plaintiff                                 johnny.walker@usdoj.gov
                                                       Counsel for Defendants
 Dated: August 8, 2018




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